     Case 2:22-cv-09203-MEMF-KS Document 128 Filed 01/23/24 Page 1 of 1 Page ID #:934
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                                                            CASE NUMBER:
 Clinton Brown,                                                                                     2:22-cv-09203-MEMF-KS
                                                          PLAINTIFF(S)
                                     v.

 Clark R. Taylor,                                                                  NOTICE TO FILER OF DEFICIENCIES
                                                                                        IN FILED DOCUMENT
                                                        DEFENDANT(S) .

PLEASE TAKE NOTICE:
The following problem(s) have been found with your filed document:

             01/16/24                                     N/A                            (Brown, Clinton)
          Date Filed                                  Document No.             Title of Document
DOCKETING AND FORMATTING ERRORS:
             Local Rule 11-3.8 title page is missing, incomplete, or incorrect
             Document lacks required signature
             Document linked incorrectly to the wrong document/docket entry
             Document submitted in the wrong case
             Incorrect document is attached to the docket entry
             Incorrect event selected. Correct event to be used is
             Proposed document was not submitted or was not submitted as a separate attachment
     X       Other: There is no document attached to the electronic filing entered on 01/16/2024. Plaintiff's name, (Brown,
                       Clinton), is all that appears on the entry.
MOTION-RELATED ERRORS:
             Local Rule 7-3 compliance statement missing
             Local Rules 7-9, 7-10 opposition or reply papers untimely
             Hearing information is missing, incorrect, or untimely
             Local Rule 11-6 Memorandum exceeds 25 pages
             Other:

OTHER ERRORS:
             Local Rule 83-2.5 no letters to the Judge
             Fed. R. Civ. P. 5 no proof of service attached
             Local Rule 7-1.1 no notice of interested parties
             Other:



 Note:     In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
           document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to
           this notice unless and until the Court directs you to do so.
                                                                               Clerk, U.S. District Court


  Dated:             01/23/24                                                        By: /s/ Hana Rashad, Hana_Rashad@cacd.uscourts.gov
                                                                                               Deputy Clerk
cc: Assigned District Judge and/or Magistrate Judge

                 Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

G-112A (08/22)                               NOTICE TO FILER OF DEFICIENCIES IN FILED DOCUMENT
